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                                                                         United States Bankruptcy Court                                          10-60807
                                                                                     Eastern District of Texas
                                                                                          Tyler Division
              Danny Mark Dickson
  In re       Anita Kay Dickson                                                                                           Case No.
              4827 George Richey Road
              Longview, TX 75604
              xxx-xx-0968
              xxx-xx-8420                                                                       Debtor(s)                 Chapter      13



         You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy
Court may modify your rights by providing for payment of less than the full amount of your claim, by setting the value of the
collateral securing your claim, and/or by setting the interest rate on your claim.

                                                                                    CHAPTER 13 PLAN
Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or such portion of
future earnings or other future income of Debtor as is necessary for the execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $163.00 Monthly to Trustee by Payroll Deduction(s) or by
   Direct Payment(s) for the period of 51 months, unless all allowed claims in every class, other than long-term claims, are paid in full in
a shorter period of time. The term of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each
pre-confirmation plan payment shall be reduced by any pre-confirmation adequate protection payment(s) made pursuant to Plan
paragraph 6(A)(i) and § 1326(a)(1)(C).

              The following alternative provision will apply if selected:

                   IF CHECKED, Plan payments will increase by $                              in month   upon completion or termination of    .

3. Payment of Claims. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. Allowed claims
shall be paid to the holders thereof in accordance with the terms thereof. From the monthly payments described above, the Chapter 13
Trustee shall pay the following allowed claims in the manner and amounts specified. Claims filed by a creditor designated as secured or
priority but which are found by the Court to be otherwise shall be treated as set forth in the Trustee's Recommendation Concerning Claims.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as set forth below,
unless the holder of such claim or expense has agreed to a different treatment of its claim.

              (A). Trustee's Fees. Trustee shall receive a fee for each disbursement, the percentage of which is fixed by the United States
Trustee.

           (B). Debtor's Attorney's Fees. The total attorney fee as of the date of filing of the petition is $ 3,500.00 . The amount of
$ 226.00 was paid prior to the filing of the case. The balance of $ 3,274.00 will be paid X from first funds upon confirmation,
or in the alternative from the remaining balance of funds available after specified monthly payments. (The total attorney fees are subject
to reduction by notice provided in the Trustee's Recommendation Concerning Claims to an amount consistent with LBR 2016(h) absent a
certification from debtors attorney regarding legal services provided pertaining to automatic stay litigation occurring in this case.)

5. Priority Claims.

              (A). Domestic Support Obligations.

     None. If none, skip to Plan paragraph 5(B).

                            (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.


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              (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
              101(14A) and 1302(b)(6).                                                                                             10-60807
                                 -NONE-

                            (iii). Anticipated Domestic Support Obligation Arrearage Claims

                                  (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in full
                                  pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured by personal
                                  property, arrearage claims secured by real property, and arrearage claims for assumed leases or executory
                                  contracts.

     None; or

 (a)                                                                                                                (b)                            (c)
 Creditor                                                                                          Estimated arrearage    Projected monthly arrearage
 (Name and Address)                                                                                              claim                       payment
 -NONE-



                                  (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to,
                                  owed to, or recoverable by a governmental unit.

     None; or
                                     Claimant and proposed treatment:                        -NONE-


         (B). Other Priority Claims (e.g., tax claims). These priority claims will be paid in full, but will not be funded until after all
secured claims, lease arrearage claims, and domestic support claims are paid in full.

 (a)                                                                                                                                               (b)
 Creditor                                                                                                                             Estimated claim
 -NONE-

6. Secured Claims.

              (A). Claims Secured by Personal Property Which Debtor Intends to Retain.

                            (i). Pre-confirmation adequate protection payments. Unless the Court orders otherwise, no later than 30 days after
                            the date of filing of this plan or the order for relief, whichever is earlier, the Debtor shall make the following adequate
                            protection payments to creditors pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection
                            payments on allowed claims to the Trustee pending confirmation of the plan, the creditor shall have an administrative
                            lien on such payment(s), subject to objection. If Debtor elects to make such adequate protection payments directly to
                            the creditor, Debtor shall provide evidence of such payment to the Trustee, including the amount and date of the
                            payment, as confirmation is prohibited without said proof.

                            Debtor shall make the following adequate protection payments:

                                  directly to the creditor; or

                                  to the Trustee pending confirmation of the plan.

                                                                                                                                                  (c)
 (a)                                                                     (b)                                                     Adequate protection
 Creditor                                                                Collateral                                                 payment amount
 -NONE-


                                                                                               2
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                            (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by personal property     10-60807
                            shall be paid as set forth in subparagraphs (a) and (b).

                                  (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts
                                  secured by a purchase money security interest in a vehicle for which the debt was incurred within 910 days of
                                  filing the bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred
                                  within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the Trustee will pay to the holder of each
                                  allowed secured claim the monthly payment in column (f) based upon the amount of the claim in column (d) with
                                  interest at the rate stated in column (e). Upon confirmation of the plan, the interest rate shown below or as
                                  modified will be binding unless a timely written objection to confirmation is filed and sustained by the Court.
                                  Payments distributed by the Trustee are subject to the availability of funds.

                                       None; or

                                                                                                    (c)                       (d)                                       (f)
 (a)                                      (b)                                                    Purchase              Estimated           (e)                     Monthly
 Creditor                                 Collateral                                               date                    Claim      Interest rate                payment
 -NONE-



                                  (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any claims
                                  secured by personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation of the plan, the
                                  Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based upon the
                                  replacement value as stated in column (d) or the amount of the claim, whichever is less, with interest at the rate
                                  stated in column (e). The portion of any allowed claim that exceeds the value indicated below will be treated as
                                  an unsecured claim. Upon confirmation of the plan, the valuation and interest rate shown below or as modified
                                  will be binding unless a timely written objection to confirmation is filed and sustained by the Court. Payments
                                  distributed by the Trustee are subject to the availability of funds.

                                       None; or

                                                                                                    (c)                     (d)                                         (f)
 (a)                                      (b)                                                    Purchase          Replacement             (e)                     Monthly
 Creditor                                 Collateral                                               date                   value       Interest rate                payment

         (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition mortgage
payments directly to each mortgage creditor as those payments ordinarily come due. These regular monthly mortgage payments, which
may be adjusted up or down as provided for under the loan documents, are due beginning the first due date after the case is filed and
continuing each month thereafter, unless this Plan provides otherwise. Trustee may pay each allowed arrearage claim at the monthly rate
indicated below until paid in full. Trustee will pay interest on the mortgage arrearage if the creditor requests interest, unless an objection to
the claim is filed and an order is entered disallowing the request interest.

                                                       (b)                                                                      (c)                                 (d)
 (a)                                                   Property                                             Estimated pre-petition                    Projected monthly
 Creditor                                              description                                                      arrearage                     arrearage payment
                                                       4827 George Richey Road,
 Citifinancial                                         Longview, TX                                                      1,160.51                                      22.76
                                                       4827 George Richey Road,
 Gregg County Tax Collector                            Longview, TX                                                       1224.33                                      30.76
 White Oak Independent School                          4827 George Richey Road,
 District                                              Longview, TX                                                       1140.00                                      28.64




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          (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the filing of the
petition unless specified otherwise in the Plan. Any involuntary repossession/foreclosure prior to confirmation of this Plan must be              10-60807
obtained by a filed motion and Court order, unless the automatic stay no longer applies under § 362(c). Upon Plan confirmation, the
automatic stay will be deemed lifted for the collateral identified below for surrender and the creditor need not file a Motion to Lift the
Stay in order to repossess, foreclose upon or sell the collateral. Nothing herein is intended to lift any applicable co-Debtor stay, or to
abrogate Debtor's state law contract rights.

 (a)                                                                                                (b)
 Creditor                                                                                           Collateral to be surrendered
 -NONE-

        (D). VOID LIEN. The secured creditors listed below hold a non-purchase money, non-possessory security interest on Debtor(s)
exempt property. Their lien will be voided pursuant to 11 U.S.C. § 522(f) and their claim treated as unsecured and paid pursuant to
paragraph 7 below:

                                                                                                                                                              Estimated
 Name of Creditor                                                                             Collateral Description                                              Claim
 -NONE-

7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph 12 is
$ 10,533.32 . After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured claims a pro rate
share of $ 17.79 . Trustee is authorized to increase this dollar amount or percentage if necessary, in order to comply with the applicable
commitment period stated in paragraph 2 of this Plan.

8. Executory Contracts and Unexpired Leases. All executory contracts and unexpired leases are assumed, unless rejected herein.
Payments due after the filing of the case will be paid directly by Debtor (c) or through Trustee (d) as set forth below.

         Debtor proposes to cure any default by paying the arrearage on the assumed leases or unexpired contracts in the amounts
projected in column (d) at the same time that payments are made to secured creditors. All other executory contracts and unexpired leases of
personal property are rejected upon conclusion of the confirmation hearing.

     None; or

                                                                                                                                                                  (e)
                                                                                                                                                 Projected arrearage
                                                                                                                                                   monthly payment
                                            (b)                                                              (c)                       (d)         through plan (for
 (a)                                        Nature of lease or                               Payment to be paid         Payment to be paid             informational
 Creditor                                   executory contract                                directly by Debtor   through plan by Trustee                 purposes)
 -NONE-

9. Property of the Estate. Upon confirmation of this plan, title of the property of the estate shall vest in DEBTOR(S), unless the Court
orders otherwise.

10. Post petition claims. THe DEBTOR(S) will not incur any post-petition consumer debt except upon written approval of the Court or
the Standing Chapter 13 Trustee. Post-petition claims will be allowed only as specified in 11 U.S.C. § 1305.

11. General Provisions. Post-petition earnings during the pendency of this case shall remain property of the estate notwithstanding section
1327. Any remaining funds held by the Trustee after dismissal or conversion of a confirmed plan may be distributed to creditors pursuant
to these provisions. Notwithstanding section 1329(a), the Trustee may bring a motion anytime within the applicable commitment period of
the Plan to modify debtor's Plan to meet the criteria of section 1325(b). Any funds sent to the debtor(s) in care of the Trustee, during the
pendency of this case may be deposited to the debtor's account and disbursed to creditors holding allowed claims pursuant to this Plan, the
Confirmation Order, and/or as set forth in the Trustee's Recommendation Concerning Claims.

12. Other Provisions:

              (A). Special classes of unsecured claims.


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              (B). Other direct payments to creditors.                                                                          10-60807
              (C). Other provisions.

Gregg County Tax Collector and White Oak Independent School District: Ad Valorem taxes shall be paid at 12% interest.


Trustee's Recommendation Concerning Claims
Notwithstanding any provision herein to the contrary, the deadline for the Trustee to file the Recommendation Concerning Claims, as well
as the deadline for filing objections to the Trustee's Recommendation Concerning claims and objections to claims shall be governed by
Local Bankruptcy Rule 3015(g).

Tax Returns/Refunds
All future tax refunds which Debtor(s) receive during the term of the plan, starting with the tax refund, if any, to be received for the tax
year 2010, shall be turned over to the Trustee within ten (10) days of receipt of such, to the extent said refunds exceed $2,262.00, and shall
be added to the plan base. Whether or not a tax refund is due, Debtor(s) shall provide a copy of their tax return to the Trustee within ten
(10) days of filing such during the term of the Plan.

Notice of Return to Work
Within thirty (30) days from the date Debtor obtains new employment income or unemployment benefits, Debtors shall file a new budget
to reflect such new income to allow either party, if appropriate, to modify the plan, to add the additional disposable income to the plan
base. The Debtor(s) shall also, within thirty (30) days from the date Debtor obtains such new employment/unemployment benefit income,
provide to the Trustee new pay advices or other evidence of the amount of the new income.



Special Note: This plan is intended as an exact copy of the recommended form prepared by the Standing Chapter 13 Trustees for this
District, except as to any added paragraphs after paragraph 11 above. The Chapter 13 Trustee shall be held harmless for any changes in this
plan from the recommended form dated July 1, 2005.

 Date         7/30/2010                                                                 Signature   /s/Danny Mark Dickson
                                                                                                    Danny Mark Dickson
                                                                                                    Debtor


 Date         7/30/2010                                                                 Signature   /s/Anita Kay Dickson
                                                                                                    Anita Kay Dickson
                                                                                                    Joint Debtor
 Attorney /s/Carol Cross Stone
                   Carol Cross Stone
                   TX Bar #24064289
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                   PO Box 5446
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